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         Exhibit G
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From: Chris Seeger
Sent: Monday, February 12, 2018 5:17 PM
To: Martin L Black <mbmblack8@gmail.com>
Cc: Dion Kekatos <DKekatos@seegerweiss.com>; TerriAnne Benedetto <TBenedetto@seegerweiss.com>
Subject: Re: notice of withdrawal on Cambridge

Mr. Black, we’re going to object to your withdrawal unless you’re substituting another firm in for you. If so, whom?

Sent from my iPhone

On Feb 12, 2018, at 4:59 PM, Martin L Black <mbmblack8@gmail.com> wrote:



        <notice of withdrawal on Cambridge.pdf>




                                                               1
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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               No. 2:12-md-02323-
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                     AB MDL No. 2323
INJURY LITIGATION
                                               Hon. Anita B. Brody

Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,
          Plaintiffs,

               v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS



                        TO THE COURT, THE HONORABLE ANITA BRODY,
                        AND CO-LEAD COUNSEL CHRISTOPHER SEEGER

PLEASE TAKE NOTICE, that the undersigned attorney, Martin L. Black,
Attorney at Law LLC, appearance before this Court on behalf and as Counsel
for Cambridge Entities, (a non-party), is hereby WITHDRAWN.

                           Martin L. Black _____
                           Martin L. Black, Attorney
                           Florida Bar #: 0178990
                           4909 N. Monroe Street,1
                           Tallahassee, Florida
                           (850) 354-8008- Telephone
                           (850) 562-0916 Facsimile
                           mbmblack8@gmail.com
                                          4
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                          CERTIFICATE OF SERVICE


I hereby certify that a copy of this Notice of Withdrawal has been sent to Judge Anita
Brody by facsimile at (215) 580-2356 and by electronic mail (email) to Attorney
Christopher Seeger at cseeger@seegerweiss.com on this 12th day of February, 2018.




                              Martin L. Black
                             Martin L. Black, Attorney




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